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                                                             United States Courts
                                                           Southern District of Texas
                                                                  &/>ED
                                                              October 06, 2021
                                                         EaƚŚĂŶKĐŚƐŶĞƌ, Clerk ofCourt


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    =E@K(,!;DK8'!B'&KD2@=E02K!;K4;D'@F4'GKG4D2K2!;"$IK488'@K:4D2CKC4CD'@KD2!DKKG!C

    !DKD2'K@'C4&';$'KG4D2K:4D2K.@K!??@=H4:!D'8IK*5F'K&!ICK&E@4;0KG24$2KD4:'K2!;!%IK489'@

    7;'GKD2!DKKG!CK';0!04;0K4;K$=::'@$4!8KC'HK2!;!$IK489'@K&4&K;=DK7;=GKCK'H!$D

    !0'K#EDK#'84'F'&KD2!DKC2'KG!CKE;&'@KD2'K!1'K=)K K2'K9!CDKD4:'K2!;!$IK489'@KC!GK

    G!CKG2';K!IG==&K&@=F'KKD=K!;K!@'!K=)K=@D2'!CDK=ECD=;K'H!CK=;K!;KE;7;=G;K&!D'

    !;&K9'/K2'@K4;K!K?!@74;0K8=D

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 !C'&KE?=;KD2'K4;*>@:!D4=;KC'DK.@D2K!#=F'KK#'84'F'KD2!DK?@=#!#8'K$!EC'K'H4CDCK*>@KD2'

    4CCE!;$'K=)K!K@6:4;!9K=:?9!4;DK%2!@14;1K:4D2KG4D2KF4=9!D4=;K=)K KKJ  KG24$2

    :!7'CK4DK!K$@4:'K*>@KC=:'=;'KG2=K#';'-DCK*5;!;$4!98IK=@K#IK@'%'4F4;0K!;ID24;1K=)KF!8E'

    7<=G4;1K=@K4;K@'$78'CCK&4C@'1!@&K=)KD2'K+$DKD2'K?'@C=;KG488K#'K$!EC'&KD=K';0!1'K4;K!

    $=::'@$4!8KC'HK!$DK!;&KD2'K?'@C=;K2!CK;=DK!DD!4;'&KD2'K!1'K=)K KI'!@C


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